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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                                     )
 RUFUS LOVELL BROOKS,                )
                                     )
              Pro Se Plaintiff,      )
                                     )
 vs.                                 )   CASE NO. 6:22-cv-00669-WWB-LHP
                                     )
 BROOKS CONSULTANTS, INC.,           )
 et al.,                             )
                                     )
              Defendants.            )
                                     )

     DEFENDANTS’ NOTICE OF FILING AMENDED CERTIFICATE OF
   SERVICE TO MOTION FOR PROTECTIVE ORDER AS TO PLAINTIFF’S
      THIRD-PARTY SUBPOENA DIRECTED TO SAP FIELDGLASS

          Defendants FUSION SOLUTIONS, INC., FATIMA ABBAS, BROOK

 CONSUTLANTS, INC., TERI-LYNNE JOHANSSON, GERRY WYSE, SWI, INC.,

 and ETEAM, INC. (collectively, “Defendants”), through their counsel, file this

 Amended Certificate of Service indicating that Defendants’ Motion for Protective

 Order as to Plaintiff’s Third-Party Subpoena directed to SAP Fieldglass was

 electronically filed with the Clerk of the Court by using the CM/ECF system,

 which sent a notice of electronic filing to counsel-of- record and furnished by

 mail to Mr. Rufus Lovell Brooks at 14016 Myrtlewood Drive, Orlando, Florida

 32832.
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       On November 15, 2022, Defendants moved for a protective order

 precluding the pro se Plaintiff from seeking certain documents from third-party

 SAP Fieldglass (attached herein as Exhibit A).

        On November 15, 2022, Defendants mailed Plaintiff a copy of the Motion

 for Protective Order, which Plaintiff states he received on November 23, 2022.

 However, due to a clerical error (which Plaintiff notified Defendants of today),

 Defendants inadvertently failed to email Plaintiff a copy of the filing as they had

 stated in their November 15, 2022, Certificate of Service. On November 28, 2022,

 Plaintiff served on counsel opposition to Defendants’ Motion for Protective

 Order. Defendants respectfully request that the pro se Plaintiff’s Opposition filed

 on November 28, 2022, be treated as timely given that Defendants mailed him

 the Motion for Protective Order but inadvertently failed to email him as stated in

 the original Certificate.




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             DATED this 28th day of November, 2022.

 Shutts & Bowen, LLP                      JACKSON LEWIS P.C.
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 Orlando, FL 32801                        1285
 Telephone: (407) 835-6767                Orlando, Florida 32801
 Facsimile: (407) 425-8316                Telephone: (407) 246-8440
                                          Facsimile: (407) 246-8441

 By:   /s/ Paul J. Scheck                 By:   /s/ Alicia M. Chiu
       Paul J. Scheck                           Alicia M. Chiu
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       Reed Sebastian Arroyo                    R. Charles DiNunzio, Jr.
       Florida Bar No.: 1014893                 Florida Bar No. 1029108
       sarroyo@shutts.com                       charles.dinunzio@jacksonlewis
                                                .com
 Attorneys for Teri-Lynne Johansson
                                          Attorneys for Fusion Solution, Inc.
                                          Fatima Abbas

 Hamilton, Miller & Birthisel, LLP        John B. Trawick PLLC
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 Telephone: (305) 379-3686
 Facsimile: (305) 379-3690


 By:   /s/Bradley A. Silverman            By:   /s/ John Bassett Trawick
       Bradley A. Silverman                     John Bassett Trawick
       Florida Bar No. 105333                   Florida Bar No. 67407
       bsilverman@hamiltonmillerlaw.com         john@jbtrawicklaw.com

       Jamie K. Nokoa                     Attorneys for Brook Consultants, Inc.,
       Florida Bar No. 1010799            Gerry Wyse and SWI, Inc.
       jnokoa@hamiltonmillerlaw.com

 Attorneys for e-Team, Inc.


                                          3
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                        CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 28th day of November, 2022, the
 foregoing was electronically filed with the Clerk of the Court by using the
 CM/ECF system, which will send a notice of electronic filing to counsel-of-
 record and furnished by email to Mr. Rufus Lovell Brooks at
 Brooks.rufus@yahoo.com.

                                          /s/ Alicia M. Chiu
                                             Alicia M. Chiu




 4862-2880-4160, v. 1




                                      4
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                       EXHIBIT A
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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                                         )
 RUFUS LOVELL BROOKS,                    )
                                         )
             Pro Se Plaintiff,           )
                                         )
 vs.                                     )    CASE NO. 6:22-cv-00669-WWB-LHP
                                         )
 BROOKS CONSULTANTS, INC.,               )
 et al.,                                 )
                                         )
             Defendants.                 )
                                         )

             DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

        Defendants FUSION SOLUTIONS, INC., FATIMA ABBAS, BROOK

 CONSUTLANTS, INC., TERI-LYNNE JOHANSSON, GERRY WYSE, SWI, INC.,

 and ETEAM, INC. (collectively, “Defendants”), through their counsel and

 pursuant to Fed.R.Civ.P. 26(c)(1), move for a protective order precluding Plaintiff

 from    seeking   certain   documents       from   third-party   SAP   FIELDGLASS.

 (“Fieldglass”). Defendants state the following in support:

                                 BACKGROUND

        1.   On November 3, 2022, Plaintiff served on Defendants a Notice of

 Intent to Serve Subpoena on SAP Fieldglass – a nonparty. See Exhibit A.




                                  EXHIBIT A
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       2.     Defendants timely objected to this Subpoena on November 9, 2022,

 asserting that the Requests were unduly burdensome, overbroad, or not

 otherwise relevant.

       3.     The parties met and conferred regarding the objections on

 November 10, 2022 but reached no agreement as to the scope of discovery. See

 Exhibit B.

                            MEMORANDUM OF LAW

       Rule 26 "gives a party standing to challenge discovery requests, including

 nonparty subpoenas, if the requests seek information that is not relevant."

 Schwanke v. JB Med. Mgmt. Sols., Inc., No. 5:16-cv-597-Oc-30PRL, 2017 U.S. Dist.

 LEXIS 111231, 2017 WL 3034039, at *7 (M.D. Fla. July 18, 2017) (citing authority).

       Defendants noted during their meet and confer that Requests 2-12 were

 overbroad and outside the scope and subject matter of this litigation because

 they sought various documents submitted through Fieldglass by various

 telecommunications companies’ “staffing suppliers,” without any attempt to

 define which staffing suppliers were included in the Requests. Defendants

 explained that, as written, these Requests could include documents from

 companies wholly unrelated to the claims or defenses in this litigation, and that

 Defendants viewed the Requests as not in line with the Magistrate Judge’s

 previous order limiting the scope of Plaintiff’s nonparty subpoena requests.



                                          2
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 Defendants stated they were unopposed to the Requests if Plaintiff explicitly

 named the staffing suppliers who are parties to this case (i.e. Defendants).

 Plaintiff refused to limit the Requests in such a manner. 1

         Defendants file this motion to protect Fieldglass from the undue burden

 and expense of responding to document Requests that are totally unrelated to the

 claims (i.e. breach of contract) and defenses in the case.2 Plaintiff’s subpoena is

 designed to strain Defendants’ current business relationship with Fieldglass by

 making Fieldglass respond to a harassing and overly burdensome subpoena.

 Plaintiff’s subpoena should be limited to seeking only non-privileged documents

 that relate to Plaintiff and his claims in this case.

                           LOCAL RULE 3.01(g) CERTIFICATION

         The undersigned certifies that on November 10, 2022, the undersigned

 conferred with Plaintiff in attempt to resolve the discovery dispute at issue. A

 resolution could not be reached, and Plaintiff opposes Defendants’ request for

 relief set forth herein.

         Defendants request this Court enter an order (i) GRANTING this motion;

 (ii) ENTERING a Protective Order that Plaintiff may only serve a subpoena


 1
  Plaintiff suggested in writing and at the meet and confer that Defendants were objecting solely for purposes of
 unreasonable delay. To the contrary, Defendants have engaged with Plaintiff in a timely manner and bring forth only
 good-faith objections.
 2
   On November 7, the Magistrate Judge issued three separate Reports and Recommendations pertaining to
 Defendants which, if adopted by the Court, would drastically reduce the scope of this litigation to focus on the
 breach of contract claims.


                                                         3
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 seeking non-privileged documents that relate to named Defendants; and (iii)

 awarding attorneys’ fees pursuant to Fed. R. Civ. P. 37(a)(5).

       DATED this 15th day of November, 2022.

       Respectfully submitted,

 Shutts & Bowen, LLP                     JACKSON LEWIS P.C.
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 Orlando, FL 32801                       Orlando, Florida 32801
 Telephone: (407) 835-6767               Telephone: (407) 246-8440
 Facsimile: (407) 425-8316               Facsimile: (407) 246-8441


 By:   /s/ Paul J. Scheck                By:   /s/ Alicia M. Chiu
       Paul J. Scheck                          Alicia M. Chiu
       Florida Bar No.: 028487                 Florida Bar No. 0058366
       pscheck@shutts.com                      alicia.chiu@jacksonlewis.com

       Reed Sebastian Arroyo                   R. Charles DiNunzio, Jr.
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       sarroyo@shutts.com                      charles.dinunzio@jacksonlewis.com

 Attorneys for Teri-Lynne Johansson      Attorneys for Fusion Solution, Inc.
                                         Fatima Abbas




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 150 Southeast Second Avenue                 3298 Summit Blvd., Suite 5
 Suite 1200                                  Pensacola, FL 32503
 Miami, Fl 33131-2332                        Telephone: (850) 476-0495
 Telephone: (305) 379-3686
 Facsimile: (305) 379-3690


 By:      /s/ Bradley A. Silverman           By:    /s/ John Bassett Trawick
          Bradley A. Silverman                      John Bassett Trawick
          Florida Bar No. 105333                    Florida Bar No. 67407
          bsilverman@hamiltonmillerlaw.com          john@jbtrawicklaw.com

          Jamie K. Nokoa                     Attorneys for Brook Consultants, Inc.,
          Florida Bar No. 1010799            Gerry Wyse and SWI, Inc.
          jnakoa@hamiltonmillerlaw.com

 Attorneys for e-Team, Inc.

                              CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 15th day of November, 2022, the
 foregoing was electronically filed with the Clerk of the Court by using the
 CM/ECF system, which will send a notice of electronic filing to counsel-of-
 record and furnished by email to Mr. Rufus Lovell Brooks at
 Brooks.rufus@yahoo.com.

                                                   /s/ Alicia M. Chiu
                                                       Alicia M. Chiu
 4875-9982-6494, v. 2




                                             5
Case
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                                      EXHIBIT 11




 1
     Please note, the following Notice of Intent misidentifies the appropriate party as Verizon.
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                              UNITED STATES
                              UNITED STATES DISTRICT
                                             DISTRICT COURT
                                                       COURT
                               MIDDLE DISTRICT
                               MIDDLE  DISTRICT OF
                                                OF FLORIDA
                                                    FLORIDA
                                    ORLANDO DIVISION
                                    ORLANDO   DIVISION

                               CASE NO.
                               CASE NO. 6:22-cv-00669-WWB-LHP
                                        6:22-cv-00669-WWB-LHP

 RUFUS LOVELL
 RUFUS LOVELL BROOKS,
              BROOKS,

               Plaintiff,
               Plaintiff,

 Vs.
 Vs.

 BROOK CONSULTANTS,
 BROOK CONSULTANTS, LLC,
                    LLC, et
                         etalal

               Defendants.
               Defendants.
                                                  //

  PLAINTIFE’S FIRST
  PLAINTIFF’S FIRST REQUEST
                    REQUEST FOR
                            FOR PRODUCTION
                                PRODUCTION TO
                                           TO SAP
                                              SAP FIELDGLASS.
                                                  FIEL DGLASS.

        Plaintiff RUFUS
        Plaintiff RUFUS LOVELL
                        LOVELL BROOKS
                               BROOKS (“Plaintiff’),
                                      (“Plaintiff”), acting
                                                     acting pro
                                                            pro se,
                                                                se, and
                                                                    and pursuant
                                                                        pursuant to
                                                                                 to Rule
                                                                                    Rule 34
                                                                                         34

 of the
 of the Federal
        Federal Rules
                Rules of
                      of Civil
                         Civil Procedure
                               Procedure and
                                         and Rule
                                             Rule 3.03,
                                                  3.03, M.D.
                                                        M.D. Fla.
                                                             Fla. L.R.,
                                                                  L.R., hereby
                                                                        hereby requests
                                                                               requests

 that S
 that SAP   Field Glass,
        A P Field Glass, Inc.
                         Inc. produce
                              produce for
                                      for inspection
                                          inspection and
                                                     and copying
                                                         copying all
                                                                 all documents
                                                                     documents and
                                                                               and

 information specified
 information specified herein
                       herein that
                              that are
                                   are in
                                       in Field
                                          Field Glass’s
                                                Glass’s possession, custody or
                                                        possession, custody or control
                                                                               control or
                                                                                       or in
                                                                                          in the
                                                                                             the

 possession, custody
 possession, custody or
                     or control
                        control of
                                of Field
                                   Field Glass’s
                                         Glass’s agents
                                                 agents or
                                                        or attorneys.
                                                           attorneys. Field
                                                                      Field Glass
                                                                            Glass is
                                                                                  is requested
                                                                                     requested to
                                                                                               to

 make such
 make such production
           production within
                      within the
                             the time
                                 time required
                                      required by
                                               by the
                                                  the Federal
                                                      Federal Rules
                                                              Rules of
                                                                    of Civil
                                                                       Civil Procedure,
                                                                             Procedure, or
                                                                                        or such
                                                                                           such

 time as
 time as required
         required by
                  by Court
                     Court Order,
                           Order, at
                                  at the
                                     the home
                                         home of
                                              of Rufus
                                                 Rufus Lovell
                                                       Lovell Brooks,
                                                              Brooks, 14016
                                                                      14016 Myrtlewood
                                                                            Myrtlewood Drive,
                                                                                       Drive,

 Orlando, Florida
 Orlando, Florida 32832,
                  32832, or
                         or at
                            at such
                               such other
                                    other place
                                          place as
                                                as may
                                                   may be
                                                       be agreed
                                                          agreed upon
                                                                 upon by
                                                                      by counsel.
                                                                         counsel.




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                                                                                        Brook, LLC
                                                                                                LLC
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                                          DEFINITIONS
                                          DEFINITIONS

        1
        1.      The term
                The term “Brooks”
                         “Brooks” shall
                                  shall refer
                                        refer to
                                              to Plaintiff
                                                 Plaintiff Rufus
                                                           Rufus Lovell
                                                                 Lovell Brooks
                                                                        Brooks and
                                                                               and any
                                                                                   any of
                                                                                       of his
                                                                                          his

 representatives, including,
 representatives, including, but
                             but not
                                 not limited
                                     limited to,
                                             to, any
                                                 any of
                                                     of his
                                                        his employees,
                                                            employees, agents,
                                                                       agents, or
                                                                               or attorneys,
                                                                                  attorneys, and
                                                                                             and any
                                                                                                 any

 other person
 other person acting
              acting for,
                     for, on
                          on behalf
                             behalf of,
                                    of, or
                                        or under
                                           under the
                                                 the authority
                                                     authority or
                                                               or control
                                                                  control of,
                                                                          of, Rufus
                                                                              Rufus Lovell
                                                                                    Lovell Brooks.
                                                                                           Brooks.

        2
        2.     The term “Plaintiff”
               The term “Plaintiff” means
                                    means Rufus
                                          Rufus Lovell
                                                Lovell Brooks
                                                       Brooks as
                                                              as defined
                                                                 defined herein.
                                                                         herein.

        3
        3.     The term “Defendants,”
               The term “Defendants,” shall
                                      shall refer
                                            refer to
                                                  to Defendants,
                                                     Defendants, eTeam,
                                                                 eTeam, Inc.
                                                                        Inc. Subline
                                                                             Subline Wireless,
                                                                                     Wireless,

 Inc., and
 Inc., and Brook
           Brook Consultants,
                 Consultants, LLC,
                              LLC, and
                                   and any
                                       any officer,
                                           officer, director,
                                                    director, shareholder,
                                                              shareholder, employee,
                                                                           employee, agent,
                                                                                     agent, or
                                                                                            or

 attorney for
 attorney for eTeam,
              eTeam, Inc.,
                     Inc., Subline
                           Subline Wireless,
                                   Wireless, Inc.,
                                             Inc., and
                                                   and Brook
                                                       Brook Consultants,
                                                             Consultants, LLC,
                                                                          LLC, and
                                                                               and any
                                                                                   any other
                                                                                       other

 person acting
 person acting for,
               for, on
                    on behalf
                       behalf of,
                              of, or
                                  or under
                                     under the
                                           the authority
                                               authority or
                                                         or control
                                                            control of
                                                                    of eTeam,
                                                                       eTeam, Inc.,
                                                                              Inc., Subline
                                                                                    Subline Wireless,
                                                                                            Wireless,

 Inc., and
 Inc., and Brook
           Brook Consultants,
                 Consultants, LLC.
                              LLC.

        4
        4.      The term
                The term “person”
                         “person” means
                                  means and
                                        and includes
                                            includes any
                                                     any natural
                                                         natural person,
                                                                 person, individual,
                                                                         individual,

 proprietorship,
 proprietorship, association,
                 association, limited liability
                              limited liability company,
                                                company, joint venture,
                                                         joint venture, firm, partnership,
                                                                        firm, partnership,

 corporation, estate,
 corporation, estate, trust,
                      trust, receiver,
                             receiver, syndicate,
                                       syndicate, municipal
                                                  municipal corporation,
                                                            corporation, party
                                                                         party and/or
                                                                               and/or any
                                                                                      any other
                                                                                          other form
                                                                                                form

 of business
 of business enterprise
             enterprise or
                        or legal
                           legal entity,
                                 entity, governmental
                                         governmental body,
                                                      body, group
                                                            group of
                                                                  of natural
                                                                     natural persons
                                                                             persons or
                                                                                     or entity,
                                                                                        entity,

 including any
 including any employee
               employee or
                        or agent
                           agent thereof.
                                 thereof.

        5)
        5.      The term
                The term “document”
                         “document” means any
                                    means any medium
                                              medium upon which
                                                     upon       information
                                                          which information                          or
                                                                                                     or

 intelligence can
 intelligence can be
                  be recorded
                     recorded or
                              or retrieved,
                                 retrieved, including,
                                            including, without
                                                       without limitation,
                                                               limitation, any
                                                                           any written
                                                                               written or
                                                                                       or graphic
                                                                                          graphic

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 matter or other
           other means
                 means of
                       of preserving
                          preserving thought
                                     thought or
                                             or expression,
                                                expression, and
                                                            and all
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                                                                    tangible things
                                                                             things from
                                                                                    from which
                                                                                         which

 information can
 information can be
                 be processed
                    processed or
                              or transcribed,
                                 transcribed, including
                                              including the
                                                        the originals
                                                            originals and
                                                                      and all
                                                                          all non-identical
                                                                              non-identical copies,
                                                                                            copies,

 whether different
 whether different from
                   from the
                        the original
                            original by
                                     by reason
                                        reason of
                                               of any
                                                  any notation
                                                      notation made
                                                               made on
                                                                    on such
                                                                       such copy
                                                                            copy or
                                                                                 or otherwise,
                                                                                    otherwise,

 including, but
 including, but not
                not limited
                    limited to,
                            to, correspondence,
                                correspondence, memoranda,
                                                memoranda, notes,
                                                           notes, messages,
                                                                  messages, letters,
                                                                            letters, electronic
                                                                                     electronic

 mail entries
 mail entries (e-mail),
              (e-mail), instant
                        instant messages,
                                messages, text
                                          text messages,
                                               messages, social
                                                         social media
                                                                media messages
                                                                      messages or
                                                                               or postings,
                                                                                  postings,

 bulletins, meetings
 bulletins, meetings or
                     or other
                        other communications,
                              communications, inter-office
                                              inter-office or
                                                           or intra-office
                                                              intra-office telephone
                                                                           telephone calls,
                                                                                     calls, diaries,
                                                                                            diaries,

 chronological data,
 chronological data, minutes,
                     minutes, books,
                              books, reports,
                                     reports, studies,
                                              studies, summaries,
                                                       summaries, pamphlets,
                                                                  pamphlets, bulletins,
                                                                             bulletins, printed
                                                                                        printed
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 matter, charts,
 matter, charts, ledgers,
                 ledgers, invoices,
                          invoices, worksheets,
                                    worksheets, receipts,
                                                receipts, returns,
                                                          returns, computer
                                                                   computer printouts,
                                                                            printouts, prospectuses,
                                                                                       prospectuses,

 financial statements,
 financial statements, schedules,
                       schedules, affidavits,
                                  affidavits, contracts,
                                              contracts, canceled
                                                         canceled checks,
                                                                  checks, statements,
                                                                          statements, transcripts,
                                                                                      transcripts,

 statistics, surveys,
 statistics, surveys, magazine
                      magazine or
                               or newspaper
                                  newspaper articles,
                                            articles, releases
                                                      releases (any
                                                               (any and
                                                                    and all
                                                                        all drafts,
                                                                            drafts, alterations
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 modifications, changes
 modifications, changes and
                        and amendments
                            amendments of
                                       of any
                                          any of
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                                                 the foregoing),
                                                     foregoing), graphic
                                                                 graphic or
                                                                         or oral
                                                                            oral records
                                                                                 records or
                                                                                         or

 representations of
 representations of any
                    any kind,
                        kind, including,
                              including, without
                                         without limitation,
                                                 limitation, microfilm,
                                                             microfilm, photographs,
                                                                        photographs, charts,
                                                                                     charts,

 microfiche, videotape,
 microfiche,            recordings, voice
             videotape, recordings, voice messages,
                                          messages, motion
                                                    motion pictures,
                                                           pictures, CD-ROM
                                                                     CD-ROM discs,
                                                                            discs, DVD
                                                                                   DVD disks,
                                                                                       disks,

 usb drives,
 usb drives, portable
             portable drives,
                      drives, or
                              or mechanical
                                 mechanical or
                                            or electronic
                                               electronic recordings
                                                          recordings or
                                                                     or representations
                                                                        representations of
                                                                                        of any
                                                                                           any

 kind (including
 kind (including without
                 without limitation,
                         limitation, tapes,
                                     tapes, cassettes,
                                            cassettes, discs,
                                                       discs, digital
                                                              digital recordings,
                                                                      recordings, and
                                                                                  and records).
                                                                                      records).

 AA draft
    draft or non-identical copy
          or non-identical copy is
                                is aa separate
                                      separate “document”
                                               “document” within
                                                          within the
                                                                 the meaning
                                                                     meaning of
                                                                             of this
                                                                                this term.
                                                                                     term.

            6.
            6.     The term
                   The term “all
                            “all documents”
                                 documents” means
                                            means every
                                                  every document
                                                        document or
                                                                 or group
                                                                    group of
                                                                          of documents
                                                                             documents as
                                                                                       as

 defined above,
 defined above, that
                that are
                     are known
                         known to
                               to you,
                                  you, or
                                       or that
                                          that can
                                               can be
                                                   be located
                                                      located or
                                                              or discovered
                                                                 discovered by
                                                                            by reasonably
                                                                               reasonably diligent
                                                                                          diligent

 efforts.
 efforts.

            7.7.   The term
                   The term “communication(s)”
                            “communication(s)” means
                                               means every
                                                     every manner
                                                           manner or
                                                                  or means
                                                                     means of
                                                                           of disclosure,
                                                                              disclosure,

 transfer or
 transfer or exchange
             exchange of
                      of information,
                         information, whether
                                      whether in
                                              in person,
                                                 person, by
                                                         by telephone,
                                                            telephone, mail,
                                                                       mail, electronic
                                                                             electronic mail,
                                                                                        mail, by
                                                                                              by

 social media
 social media mail
              mail or
                   or posting,
                      posting, personal
                               personal delivery
                                        delivery or
                                                 or otherwise.
                                                    otherwise.

            8.
            8.     The term
                   The term “Action”
                            “Action” shall
                                     shall mean
                                           mean this
                                                this instant
                                                     instant action
                                                             action entitled
                                                                    entitled Rufus
                                                                             Rufus Lovell
                                                                                   Lovell Brooks
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                                                                                                 v.

 Brook Consultants,
 Brook Consultants, LLC,
                    LLC, Case
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            9
            9.     The words
                   The words “refer
                             “refer to”
                                    to” or
                                        or “relate
                                           “relate to”
                                                   to” shall
                                                       shall mean:
                                                             mean: pertains
                                                                   pertains to,
                                                                            to, pertaining
                                                                                pertaining to,
                                                                                           to, contains,
                                                                                               contains,

 concerns, describes,
 concerns, describes, embodies,
                      embodies, mentions,
                                mentions, constituting,
                                          constituting, supports,
                                                        supports, corroborates,
                                                                  corroborates, demonstrates,
                                                                                demonstrates,

 provides, evidences,
 provides, evidences, shows,
                      shows, refutes,
                             refutes, disputes,
                                      disputes, rebuts,
                                                rebuts, controverts,
                                                        controverts, or
                                                                     or contradicts.
                                                                        contradicts.

            10.
            10.    A
                   A document
                     document “relates”
                              “relates” or
                                        or is
                                           is “relating”
                                              “relating” to
                                                         to aa given
                                                               given subject
                                                                     subject matter
                                                                             matter if
                                                                                    if it
                                                                                       it constitutes,
                                                                                          constitutes,

 contains, comprises,
 contains, comprises, consists
                      consists of,
                               of, embodies,
                                   embodies, identifies,
                                             identifies, states,
                                                         states, refers
                                                                 refers to,
                                                                        to, deals
                                                                            deals with,
                                                                                  with, sets
                                                                                        sets forth,
                                                                                             forth,
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 proposes, shows,
 proposes, shows, evidences,
                  evidences, discloses,
                             discloses, describes,
                                        describes, discusses,
                                                   discusses, explains,
                                                              explains, summarizes,
                                                                        summarizes, concerns,
                                                                                    concerns, or
                                                                                              or

 otherwise addresses
 otherwise addresses in
                     in any
                        any way
                            way the
                                the subject
                                    subject matter
                                            matter of
                                                   of the
                                                      the request.
                                                          request.

        1
        11.         term “Complaint”
                The term
                The      “Complaint” means
                                     means the
                                           the Complaint
                                               Complaint filed by Plaintiff
                                                         filed by Plaintiff on
                                                                            on or
                                                                               or about
                                                                                  about April
                                                                                        April 6,
                                                                                              6,

 2022 in
 2022 in the
         the Middle
             Middle District
                    District of
                             of Florida,
                                Florida, and
                                         and any
                                             any amendments
                                                 amendments made
                                                            made thereto.
                                                                 thereto.

        12
        12.     The term
                The term “Interrogatory”
                         “Interrogatory” or
                                         or “Interrogatories”
                                            “Interrogatories” means
                                                              means the
                                                                    the interrogatories
                                                                        interrogatories set
                                                                                        set forth
                                                                                            forth

 in this
 in this First
         First Set
               Set of
                   of Interrogatories
                      Interrogatories to
                                      to Ericsson,
                                         Ericsson, Inc.,
                                                   Inc., served
                                                         served contemporaneously
                                                                contemporaneously herewith.
                                                                                  herewith.

        13
        13.     The term
                The term “Request”
                         “Request” or
                                   or “Requests”
                                      “Requests” means
                                                 means Plaintiff’s
                                                       Plaintiff’s First
                                                                   First Request
                                                                         Request for
                                                                                 for Production
                                                                                     Production

 of Documents
 of Documents to
              to Field
                 Field Glass,
                       Glass, Inc.
                              Inc.

        14,
        14.     As used herein,
                As used herein, the
                                the singular
                                    singular shall
                                             shall include
                                                   include the
                                                           the plural,
                                                               plural, the
                                                                       the plural
                                                                           plural shall
                                                                                  shall include
                                                                                        include the
                                                                                                the

 singular, and
 singular, and the
               the masculine,
                   masculine, feminine,
                              feminine, and
                                        and neuter
                                            neuter shall
                                                   shall include
                                                         include each
                                                                 each of
                                                                      of the
                                                                         the other
                                                                             other genders.
                                                                                   genders.

        15.
        15.     The words
                The words “and”
                          “and” and
                                and “or”
                                    “or” shall
                                         shall be
                                               be construed
                                                  construed either
                                                            either conjunctively
                                                                   conjunctively or
                                                                                 or disjunctively
                                                                                    disjunctively

 to bring
 to bring within
          within the
                 the scope
                     scope of
                           of these
                              these Requests
                                    Requests any
                                             any documents
                                                 documents which
                                                           which might
                                                                 might otherwise
                                                                       otherwise be
                                                                                 be construed
                                                                                    construed

 to be
 to be outside
       outside their
               their scope.
                     scope.

        16.
        16.     “Copy” when
                “Copy”      used in
                       when used in reference
                                    reference to
                                              to aa document
                                                    document means
                                                             means any
                                                                   any color
                                                                       color or
                                                                             or black
                                                                                black and
                                                                                      and white
                                                                                          white

 facsimile reproduction
 facsimile reproduction of
                        of aa document,
                              document, regardless
                                        regardless of
                                                   of whether
                                                      whether that
                                                              that facsimile
                                                                   facsimile reproduction
                                                                             reproduction is
                                                                                          is made
                                                                                             made

 by means
 by means of
          of pressure
             pressure sensitive
                      sensitive paper,
                                paper, xerography,
                                       xerography, electronic
                                                   electronic or
                                                              or any
                                                                 any other
                                                                     other means
                                                                           means of
                                                                                 of process.
                                                                                    process.

        17.
        17.     “Communication” and
                “Communication” and “communicate”
                                    “communicate” shall
                                                  shall mean
                                                        mean any
                                                             any recordation,
                                                                 recordation, exchange
                                                                              exchange or
                                                                                       or

 transfer of
 transfer of information,
             information, whether
                          whether in
                                  in writing,
                                     writing, oral
                                              oral or
                                                   or other
                                                      other form,
                                                            form, including,
                                                                  including, but
                                                                             but not
                                                                                 not limited
                                                                                     limited to,
                                                                                             to,

 memoranda or
 memoranda or notes
              notes to
                    to the
                       the file,
                           file, telephone
                                 telephone conversations,
                                           conversations, and
                                                          and meetings,
                                                              meetings, letters,
                                                                        letters, telegraphic
                                                                                 telegraphic and
                                                                                             and

 telex communications,
 telex communications, and
                       and includes
                           includes all
                                    all information
                                        information relating
                                                    relating to
                                                             to all
                                                                all oral
                                                                    oral communications
                                                                         communications and
                                                                                        and

 “documents”
 “documents” (as
             (as hereinabove
                 hereinabove defined),
                             defined), whether
                                       whether or
                                               or not
                                                  not such
                                                      such document,
                                                           document, or
                                                                     or information
                                                                        information contained
                                                                                    contained

 herein was
 herein     transmitted by
        was transmitted by its
                           its author
                               author to
                                      to any
                                         any other
                                             other person.
                                                   person.
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INSTRUCTIONS
INSTRUCTIONS


         1
         1.      Documents produced
                 Documents produced in
                                    in response
                                       response to
                                                to these
                                                   these Requests
                                                         Requests shall
                                                                  shall be
                                                                        be produced
                                                                           produced as
                                                                                    as they
                                                                                       they are
                                                                                            are

 kept in
 kept in the
         the usual
             usual course
                   course of
                          of business
                             business or
                                      or shall
                                         shall be
                                               be organized
                                                  organized and
                                                            and labeled
                                                                labeled to
                                                                        to correspond
                                                                           correspond with
                                                                                      with the
                                                                                           the

 categories in
 categories in the
               the Requests.
                   Requests.

         2
         2.      These Requests
                 These Requests are
                                are directed
                                    directed to
                                             to and
                                                and cover
                                                    cover all
                                                          all documents
                                                              documents in
                                                                        in Field
                                                                           Field Glass,
                                                                                 Glass, Inc.’s
                                                                                        Inc.’s

 possession, custody
 possession, custody or
                     or control,
                        control, or
                                 or in
                                    in the
                                       the possession,
                                           possession, custody,
                                                       custody, or
                                                                or control
                                                                   control of
                                                                           of Field
                                                                              Field Glass,
                                                                                    Glass, Inc.’s
                                                                                           Inc.’s

 representatives, including,
 representatives, including, but
                             but not
                                 not limited
                                     limited to,
                                             to, any
                                                 any of
                                                     of his
                                                        his employees,
                                                            employees, agents,
                                                                       agents, or
                                                                               or attorneys,
                                                                                  attorneys, and
                                                                                             and any
                                                                                                 any

 other person
 other person acting
              acting for,
                     for, on
                          on behalf
                             behalf of,
                                    of, or
                                        or under
                                           under the
                                                 the authority
                                                     authority or
                                                               or control
                                                                  control of
                                                                          of Field
                                                                             Field Glass,
                                                                                   Glass, Inc.
                                                                                          Inc.

         3
         3.      When producing
                 When producing the
                                the documents,
                                    documents, please
                                               please keep
                                                      keep all
                                                           all documents
                                                               documents segregated
                                                                         segregated by
                                                                                    by the
                                                                                       the file
                                                                                           file

 in which
 in which the
          the documents
              documents are
                        are contained
                            contained and
                                      and indicate
                                          indicate the
                                                   the name
                                                       name of
                                                            of the
                                                               the file
                                                                   file in
                                                                        in which
                                                                           which the
                                                                                 the documents
                                                                                     documents

 are contained
 are contained and
               and the
                   the name
                       name of
                            of the
                               the documents
                                   documents being
                                             being produced.
                                                   produced.

         4
         4.      You shall
                 You shall produce
                           produce documents
                                   documents responsive
                                             responsive to
                                                        to these
                                                           these Requests
                                                                 Requests in
                                                                          in such
                                                                             such aa manner
                                                                                     manner that
                                                                                            that

 the source
 the source of
            of the
               the documents
                   documents is
                             is easily
                                easily ascertainable
                                       ascertainable by
                                                     by Plaintiff.
                                                        Plaintiff.

         5
         5.      In the
                 In the event
                        event such
                              such file(s)
                                   file(s) or
                                           or document(s)
                                              document(s) has
                                                          has (have)
                                                              (have) been
                                                                     been removed,
                                                                          removed, either
                                                                                   either for
                                                                                          for the
                                                                                              the

 purpose of
 purpose of this
            this action
                 action or
                        or for
                           for some
                               some other
                                    other purpose,
                                          purpose, please
                                                   please state
                                                          state the
                                                                the name
                                                                    name and
                                                                         and address
                                                                             address of
                                                                                     of the
                                                                                        the person
                                                                                            person

 who removed
 who removed the
             the file,
                 file, the
                       the title
                           title of
                                 of the
                                    the file
                                        file and
                                             and each
                                                 each sub
                                                      sub file,
                                                          file, if
                                                                if any,
                                                                   any, maintained
                                                                        maintained within
                                                                                   within the
                                                                                          the file,
                                                                                              file, and
                                                                                                    and

 the present
 the present location
             location of
                      of the
                         the file.
                             file.

         6.
         6.      If you
                 If you withhold
                        withhold any
                                 any documents
                                     documents that
                                               that you
                                                    you are
                                                        are otherwise
                                                            otherwise required
                                                                      required to
                                                                               to produce
                                                                                  produce by
                                                                                          by

 these Requests,
 these Requests, specifically
                 specifically identify
                              identify each
                                       each document
                                            document by
                                                     by stating
                                                        stating its
                                                                its date,
                                                                    date, author,
                                                                          author, recipients
                                                                                  recipients and
                                                                                             and the
                                                                                                 the

 reason for
 reason for withholding
            withholding said
                        said document.
                             document.

         7.
         7.      If you
                 If you object
                        object to
                               to identifying
                                  identifying aa document
                                                 document or
                                                          or oral
                                                             oral communication
                                                                  communication on
                                                                                on the
                                                                                   the ground
                                                                                       ground of
                                                                                              of

 privilege or
 privilege or otherwise,
              otherwise, state
                         state the
                               the following
                                   following for
                                             for each
                                                 each piece
                                                      piece of
                                                            of information
                                                               information withheld
                                                                           withheld in
                                                                                    in aa privilege
                                                                                          privilege

 Log to
 Log to be
        be served
           served and
                  and filed
                      filed with the court
                            with the court in
                                           in accordance
                                              accordance with the applicable
                                                         with the applicable rules
                                                                             rules of
                                                                                   of civil
                                                                                      civil

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        @
        (a)    the type
               the type of
                        of document
                           document (i.e.,
                                    (i.e., correspondence,
                                           correspondence, memorandum,
                                                           memorandum, etc.),
                                                                       etc.), or,
                                                                              or, if
                                                                                  if an
                                                                                     an oral
                                                                                        oral

               communication, the
               communication, the place
                                  place where
                                        where itit was
                                                   was made,
                                                       made, the
                                                             the names
                                                                 names of
                                                                       of the
                                                                          the persons
                                                                              persons present
                                                                                      present

               while it
               while it was made, and,
                        was made, and, if
                                       if not
                                          not apparent,
                                              apparent, the
                                                        the relationship
                                                            relationship of
                                                                         of the
                                                                            the persons
                                                                                persons present
                                                                                        present to
                                                                                                to

               the declarant;
               the declarant;

        (b)    the general
               the general subject
                           subject matter
                                   matter of
                                          of the
                                             the document
                                                 document or
                                                          or oral
                                                             oral communication;
                                                                  communication;

        (c)     the date
                the date of
                         of the
                            the document
                                document or
                                         or when
                                            when the
                                                 the oral
                                                     oral communication
                                                          communication was made;
                                                                        was made;

        (d)     the person(s)
                the person(s) who
                              who authored
                                  authored the
                                           the document
                                               document or
                                                        or made
                                                           made the
                                                                the oral
                                                                    oral communication;
                                                                         communication;

        (e)    the person(s)
               the person(s) who received the
                             who received the document
                                              document or
                                                       or aa copy
                                                             copy or
                                                                  or heard
                                                                     heard the
                                                                           the oral
                                                                               oral

               communication;
               communication;

        (f)    the ground(s)
               the ground(s) for
                             for nonproduction;
                                 nonproduction; and
                                                and the
                                                    the substance
                                                        substance of
                                                                  of the
                                                                     the document
                                                                         document or
                                                                                  or oral
                                                                                     oral

               communication.
               communication.

        (g)    Pursuant to
               Pursuant to the
                           the Federal
                               Federal Rules
                                       Rules of
                                             of Civil
                                                Civil Procedure
                                                      Procedure and
                                                                and the
                                                                    the Local
                                                                        Local Rules
                                                                              Rules of
                                                                                    of the
                                                                                       the

               Middle District
               Middle District of
                               of Florida,
                                  Florida, these
                                           these Requests
                                                 Requests are
                                                          are continuing
                                                              continuing in
                                                                         in nature
                                                                            nature so
                                                                                   so as
                                                                                      as to
                                                                                         to require
                                                                                            require

               production of
               production of any
                             any and
                                 and all
                                     all documents
                                         documents which
                                                   which may
                                                         may be
                                                             be in
                                                                in your
                                                                   your possession,
                                                                        possession, custody
                                                                                    custody or
                                                                                            or

               control between
               control between the
                               the date
                                   date of
                                        of service
                                           service of
                                                   of this
                                                      this request
                                                           request and
                                                                   and the
                                                                       the date
                                                                           date on
                                                                                on which
                                                                                   which the
                                                                                         the

               above-captioned case
               above-captioned case is
                                    is resolved,
                                       resolved, either
                                                 either by
                                                        by trial
                                                           trial or
                                                                 or otherwise’
                                                                    otherwise’




                                          TIME FRAME
                                          TIME FRAME

        Unless otherwise
        Unless otherwise specified
                         specified within
                                   within aa specific
                                             specific request
                                                      request for
                                                              for production,
                                                                  production, the
                                                                              the time
                                                                                  time frame
                                                                                       frame

 for this
 for this First
          First Request
                Request for
                        for Production
                            Production shall
                                       shall be
                                             be from
                                                from January
                                                     January 1,
                                                             1, 2018
                                                                2018 to
                                                                     to the
                                                                        the present.
                                                                            present.
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                          DOCUMENTS TO
                          DOCUMENTS TO BE
                                       BE PRODUCED
                                          PRODUCED


1.. All documents relating
    All documents relating to
                           to Plaintiff’s
                              Plaintiff’s applications
                                          applications for
                                                       for employment
                                                           employment with
                                                                      with you,
                                                                           you, directly
                                                                                directly and
                                                                                         and

   indirectly, including,
   indirectly, including, but
                          but not
                              not limited
                                  limited to,
                                          to, documents
                                              documents that
                                                        that Plaintiff
                                                             Plaintiff submitted
                                                                       submitted and
                                                                                 and you
                                                                                     you

   received from
   received from Plaintiff
                 Plaintiff in
                           in connection
                              connection therewith,
                                         therewith, including,
                                                    including, but
                                                               but not
                                                                   not limited
                                                                       limited to,
                                                                               to,

   employment applications,
   employment applications, résumés,
                            résumés, references,
                                     references, correspondence,
                                                 correspondence, and
                                                                 and documents
                                                                     documents

   describing Plaintiff’s
   describing Plaintiff’s experience
                          experience and
                                     and qualifications.
                                         qualifications.

2.. All documents which
    All documents which relate
                        relate or
                               or refer
                                  refer to
                                        to any
                                           any job applications submitted
                                               job applications submitted through
                                                                          through SAP
                                                                                  SAP Field
                                                                                      Field

   Glass by
   Glass by staffing
            staffing suppliers
                     suppliers on
                               on the
                                  the behalf
                                      behalf of
                                             of Plaintiff
                                                Plaintiff to
                                                          to Verizon,
                                                             Verizon, Inc.,
                                                                      Inc., or
                                                                            or Verizon
                                                                               Verizon Wireless.
                                                                                       Wireless.

3.. All documents which
    All documents which relate
                        relate or
                               or refer
                                  refer to
                                        to any
                                           any job applications submitted
                                               job applications submitted through
                                                                          through SAP
                                                                                  SAP Field
                                                                                      Field

   Glass by
   Glass by staffing
            staffing suppliers
                     suppliers on
                               on the
                                  the behalf
                                      behalf of
                                             of Plaintiff
                                                Plaintiff to
                                                          to T-Mobile/Sprint,
                                                             T-Mobile/Sprint, Inc.
                                                                              Inc.

4.. All documents which
    All documents which relate
                        relate or
                               or refer
                                  refer to
                                        to any
                                           any job applications submitted
                                               job applications submitted through
                                                                          through SAP
                                                                                  SAP field
                                                                                      field

   Glass by
   Glass by staffing
            staffing suppliers
                     suppliers on
                               on the
                                  the behalf
                                      behalf of
                                             of Plaintiff
                                                Plaintiff to
                                                          to Ericsson,
                                                             Ericsson, Inc.
                                                                       Inc.

5.. All documents which
    All documents which relate
                        relate or
                               or refer
                                  refer to
                                        to any
                                           any job applications submitted
                                               job applications submitted through
                                                                          through SAP
                                                                                  SAP field
                                                                                      field

   Glass, by
   Glass, by staffing
             staffing suppliers
                      suppliers on
                                on the
                                   the behalf
                                       behalf of
                                              of Plaintiff
                                                 Plaintiff to
                                                           to AT&T
                                                              AT&T Wireless.
                                                                   Wireless.

6.. All documents which
    All documents which relate
                        relate or
                               or refer
                                  refer to
                                        to any
                                           any job
                                               job applications
                                                   applications submitted
                                                                submitted through
                                                                          through SAP
                                                                                  SAP field
                                                                                      field

   Glass, by
   Glass, by staffing
             staffing suppliers
                      suppliers on
                                on the
                                   the behalf
                                       behalf of
                                              of Plaintiff
                                                 Plaintiff to
                                                           to Nokia.
                                                              Nokia.

7.. All documents which
    All documents which relate
                        relate or
                               or refer
                                  refer to
                                        to any
                                           any job
                                               job applications
                                                   applications submitted
                                                                submitted through
                                                                          through SAP
                                                                                  SAP field
                                                                                      field

   Glass by
   Glass by staffing
            staffing suppliers
                     suppliers on
                               on the
                                  the behalf
                                      behalf of
                                             of Plaintiff
                                                Plaintiff to
                                                          to any
                                                             any buyer.
                                                                 buyer.

8.. All documents submitted
    All documents submitted through
                            through the
                                    the SAP
                                        SAP Field
                                            Field Glass
                                                  Glass by
                                                        by staffing
                                                           staffing suppliers
                                                                    suppliers on
                                                                              on the
                                                                                 the behalf
                                                                                     behalf of
                                                                                            of

   Plaintiff to
   Plaintiff to Verizon,
                Verizon, Inc.
                         Inc. showing
                              showing the
                                      the date
                                          date of
                                               of submission,
                                                  submission, buyer
                                                              buyer name,
                                                                    name, job number, the
                                                                          job number, the

   supplier name,
   supplier name, and
                  and the
                      the final
                          final resolution
                                resolution of
                                           of the
                                              the Plaintiff’s
                                                  Plaintiff’s applications.
                                                              applications.

9.. All documents submitted
    All documents submitted through
                            through the
                                    the SAP
                                        SAP Field
                                            Field Glass
                                                  Glass by
                                                        by staffing
                                                           staffing suppliers
                                                                    suppliers on
                                                                              on the
                                                                                 the behalf
                                                                                     behalf of
                                                                                            of

   Plaintiff to
   Plaintiff to T-Mobile/Sprint,
                T-Mobile/Sprint, showing
                                 showing the
                                         the date
                                             date of
                                                  of submission,
                                                     submission, buyer
                                                                 buyer name,
                                                                       name, job number, the
                                                                             job number, the

   supplier name,
   supplier name, and
                  and the
                      the final
                          final resolution
                                resolution of
                                           of the
                                              the Plaintiff’s
                                                  Plaintiff’s applications.
                                                              applications.
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                                                                                                Brook, LLC
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10. All
10.     documents submitted
    All documents submitted through
                            through SAP
                                    SAP Field
                                        Field Glass
                                              Glass by
                                                    by staffing
                                                       staffing suppliers
                                                                suppliers on
                                                                          on the
                                                                             the behalf
                                                                                 behalf of
                                                                                        of

   Plaintiff to
   Plaintiff to Nokia
                Nokia showing
                      showing the
                              the date
                                  date of
                                       of submission,
                                          submission, buyer
                                                      buyer name,
                                                            name, job number, the
                                                                  job number, the supplier
                                                                                  supplier

   name,
   name, and
         and the
             the final
                 final resolution
                       resolution of
                                  of the
                                     the Plaintiff’s
                                         Plaintiff’s applications.
                                                     applications.


11. All
11.     documents submitted
    All documents submitted through
                            through the
                                    the SAP
                                        SAP Field
                                            Field Glass
                                                  Glass by
                                                        by staffing
                                                           staffing suppliers
                                                                    suppliers on
                                                                              on the
                                                                                 the behalf
                                                                                     behalf of
                                                                                            of

   Plaintiff to
   Plaintiff to AT&T Wireless showing
                AT&T Wireless showing the
                                      the date
                                          date of
                                               of submission,
                                                  submission, buyer
                                                              buyer name,
                                                                    name, job number, the
                                                                          job number, the

   supplier name,
   supplier name, and
                  and the
                      the final
                          final resolution
                                resolution of
                                           of the
                                              the Plaintiff’s
                                                  Plaintiff’s applications.
                                                              applications.


12. All
12.     documents submitted
    All documents submitted through
                            through the
                                    the SAP
                                        SAP Field
                                            Field Glass
                                                  Glass by
                                                        by staffing
                                                           staffing suppliers
                                                                    suppliers on
                                                                              on the
                                                                                 the behalf
                                                                                     behalf of
                                                                                            of

   Plaintiff to
   Plaintiff to any
                any buyer,
                    buyer, showing
                           showing the
                                   the date
                                       date of
                                            of submission,
                                               submission, buyer
                                                           buyer name,
                                                                 name, job number, the
                                                                       job number, the

   supplier name,
   supplier name, and
                  and the
                      the final
                          final resolution
                                resolution of
                                           of the
                                              the Plaintiff’s
                                                  Plaintiff’s applications.
                                                              applications.




     Dated this
     Dated this 3rd
                3rd day
                    day of
                        of November,
                           November, 2022.
                                     2022.
                                                           Respectfully submitted,
                                                           Respectfully submitted,

                                                          By: Rufus
                                                          By: Rufus Lovell
                                                                     Lovell Brooks
                                                                             Brooks
                                                               Acting Pro
                                                               Acting  Pro Se
                                                                           Se
                                                               14016 Myrtlewood
                                                               14016  Myrtlewood Drive
                                                                                    Drive
                                                               Orlando, FL
                                                               Orlando,  FL 32832
                                                                             32832
                                                               Telephone: (407)
                                                               Telephone:   (407) 704-8123
                                                                                  704-8123
                                                               E-mail: brooks.rufus@yahoo.com
                                                               E-mail:
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                                                                       Brook, LLC
                                                                               LLC
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                                                                       Brook, LLC
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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

                                  CASE NO. 6:22-cv-00669-WW-LHP

  RUFUS LOVELL BROOKS

                  Plaintiff,

  vs.

  BROOK CONSULTANTS, LLC, et, al

                  Defendants.
                                                      /



                      NOTICE OF INTENT TO SERVE SUBPOENA

PLEASE TAKE NOTICE that on November 15, 2022, Plaintiffs Rufus Lovell Brooks, acting pro se, will cause
the attached subpoena (the “Subpoena”) to be served via process server on the Verizon, Inc.’s Registry agent,
JOHN JENNINGS, 125 S WACKER DR, STE 2400, CHICAGO, IL 60606




                                        respectfully submitted,
Date: Nov 3rd, 2022

                                         Rufus Lovell Brooks, Acting Pro Se
                                           14016 Myrtlewood Drive
                                               Orlando, FL 32832
                                                Tel. 407.704.8123
                                        E-mail: Brooks.rufus@yahoo.com
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                                CERTIFICATE OF SERVICE

       I certify that, on this 1st day of November 3, 2022, a copy hereof of Plaintiff Notice of
       Intent to Serve Subpoena was served via e-mail and US mail to:



       John Bassett Trawick
       John B. Trawick PLLC
       3298 Summit Blvd
       Suite 5
       Pensacola, FL 32503
       850-476-0495
       Email: john@jbtrawicklaw.com
       Paul J. Scheck
       Shutts & Bowen, LLP
       Suite 1600
       300 S Orange Ave.
       Orlando, FL 32801
       407/423-3200 Ext 6730
       Fax: 407/425-8316
       Email: pscheck@shutts.com

       Reed Sebastian Arroyo
       210 Duncan Trail
       Longwood, FL 32779
       407-967-7751
       Email: SArroyo@shutts.com

       Alicia M. Chiu
       Jackson Lewis, PC
       390 N Orange Ave, Ste 1285
       Orlando, FL 32801
       407/246-8405
       Fax: 407/246-8441
       Email: alicia.chiu@jacksonlewis.com

       Ronald Charles DiNunzio , Jr
       Jackson Lewis P.C.
       390 N. Orange Avenue
       Ste 1285
       Orlando, FL 32801
       407-246-8440
       Email: charles.dinunzio@jacksonlewis.com
       Jennifer Patricia Brooks
       Hamilton Miller & Birthisel, LLP
       150 SE 2nd Ave Ste 1200
       Miami, FL 33131-1579
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       305/379-3686
       Fax: 305/379-3690
       Email: jmiller@hamiltonmillerlaw.com

       Joshua David Roth
       Quintairos, Prieto, Wood & Boyer, PA
       255 S Orange Ave Ste 900
       Orlando, FL 32801-3454
       407-425-9566
       Fax: 407-425-9596
       Email: Roth.JoshuaDavid@gmail.com
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or 1o Permit Inspection of Premises in a Civil Action



                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Middle District of Florida                 [|
                  RUFUS LOVELL BROOKS




                                                                               Neer? See
                               Plaintiff
                                                                                           Civil Action No, 9:22-cv-669-WW-LHP
             BROOK CONSULTANTS, INC. et al




                                                                               eee! Nee
                                                                               Nee
                              Defendant




                                                                               Nee
                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                            SAP Fieldglass, Inc. Legal department

                                                        (Name of person to whom this subpoena is directed)

     “4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
          All of the documentys listed on the attached Request for Document Form.

es                                                                                         | Date and Time:
            14016 Myrtlewood Drive
            Orlando, FL 32832                              .                               |                    12/15/2022 12:00 am

      () Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 | Place:                                             -_                                       Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(€) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        Eff 22
                          CLERK OF COURT
                         -                                         y)                             OR

                     *                     Sigharure
                                               .     uf Gert: r Deputy Clerk                               a           Attorney’s signature

 The name, address, e-mail address, and telephone number of the attomey representing (name ofparty) _
Rufus Lovell Brooks acting pro se                                       , who issues or requests this subpoena, are:
 14016 Myrtlewood Drive Orlando, FL 32832 brooks.rufus@yahoo.com (407) 704-8123

                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                        EXHIBIT
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From:                             DiNunzio, R. Charles (Orlando)
Sent:                             Wednesday, November 9, 2022 4:20 PM
To:                               Rufus Brooks
Cc:                               'John Trawick'; Paul Scheck; Reed Sebastian Arroyo; jroth@hamiltonmillerlaw.com;
                                  Bradley Silverman (HMB); Joanne Rudd (HMB); Jamie Nakoa (HMB); Daphnee Jones
                                  (HMB); Chiu, Alicia M. (Orlando)
Subject:                          RE: Objection to Intent to Serve Verizon Subpoena


Mr. Brooks,

We timely objected to the Verizon subpoena and under the Federal Rules there is no deadline to file a motion for
protective order. We’re hoping that our meet and confer is productive and that a motion won’t be necessary. I assure
you no one is purposely delaying in responding, but it does take time to coordinate this many attorneys and their clients,
so we appreciate your patience.

Separately, Defendants Brook Consultants, Inc., Teri-Lynne Johansson, Gerry Wyse, SWI, Inc., Fusion Solutions, Inc.,
Fatima Abbas, and eTeam also collectively object to your intent to serve a subpoena on SAP Fieldglass for the following
reasons:

Request No. 1/General objection – SAP Fieldglass is a vendor management system that companies implement to help
employ workers. To the extent that it would have any pertinent documents, the requests should be sent to the
companies in question, not the vendor.

Request Nos. 2-12—Similar to our objections regarding the proposed Verizon subpoena, these requests do not name the
staffing suppliers. None of these parties mentioned in these requests are parties to the litigation, nor is SAP
Fieldglass. Further, it is our understanding that some of these companies (such as Ericsson) do not even use SAP
Fieldglass, which creates a separate issue.

We can discuss our objections to the Verizon and SAP Fieldglass subpoenas together tomorrow at 1p.m. so as to avoid
any further delay. I will have my assistant send around a dial-in number.

Thank you,
Charles
